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                          EXHIBIT 5
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                          SALIWANCHIK, LLOYD & EISENSCHENK
                                              A PROFESSIONAL ASSOCIATION

                                       P.O. Box 142950, Gainesville, FL 32614-2950
                                           COURIER: 3107 S.W. Williston Rd., Gainesville, FL 32608


                                                       Telephone: (352) 375-8100
                                                       Facsimile: (352) 372-5800
                                                          www.slepatents.com




  January 22, 2018

  Garena Interactive Holding Limited                                                                 VIA EMAIL
  partnership@seagroup.com

           Re:       Unauthorized Use and Potential Infringement of
                     PUBG Corporation’s Intellectual Property
                     Our Ref. No.: K.C.TM.MISC

  To Whom It May Concern:

          We are attorneys representing PUBG Corporation (PUBG) and its legal predecessor and
  parent company, Bluehole, Inc., (Bluehole) in connection with their intellectual property matters. It
  has recently come to our attention that Garena Interactive Holding Limited is publishing and
  distributing the video game “Free Fire-Battlegrounds” on a global scale.

         We are very flattered by your enthusiasm toward the Battle Royale genre, but we must inform
  you that “FREE FIRE-BATTLEGROUNDS” is potentially infringing on our client’s intellectual
  property rights, including but not limited to trademarks and copyrights. Please refer to the
  attachment, which shows some of your unauthorized use of features and details in your game “FREE
  FIRE-BATTELGROUNDS” that are highly similar to those used in PUBG’s
  “PLAYERUNKNOWN’S BATTLEROUNDS” online game.

          The content of the game PLAYERUNKNOWN’S BATTLEGROUNDS, as well as the
  images displayed therein, are sole creations of PUBG Corporation, and therefore, PUBG Corporation
  owns the exclusive right to use such images. Please note that the use of our client’s game skin
  images and/or use of similar gaming content would be in violation of relevant federal and state
  trademark statutes in the United States if they cause any consumer confusion or mislead the average
  consumer to believe that the two companies are sponsored, endorsed by, and/or otherwise affiliated
  with each other. Therefore, in order to avoid any inconvenience and possible consumer confusion
  between you and our client in the future, we sincerely advise you to cease the publishing and
  distribution of the game “FREE FIRE-BATTLEGROUNDS” by January 31, 2018.




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  To: Garena Interactive Holding Limited         2                               January 22, 2018


        We wish you continued success with your own game that is vastly different from our client’s
  game. Please give your assurances by January 24, 2018 that you have discontinued all use of
  “FREE FIRE-BATTLEGROUNDS.”

                                              Sincerely,




                                              Ms. Corey K. Cho
                                              Trademark Attorney

  CKC/ank
  Attachment: as stated above
  cc:   PUBG Corporation (via email)




  J:\TM\K.C\MISC\CDltr.Garena.doc/CD/ckc
